    Case 17-20543         Doc 19       Filed 01/12/18 Entered 01/12/18 15:41:56                       Desc Main
                                         Document     Page 1 of 3


                                                                                                         Hearing scheduled
                                                                                                  Date: December 20, 2017
                                                                                                           Time: 9:00 a.m.
                                                                                                        Location: Portland
                                                                                        Objection date: December 13, 20171


                              UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF MAINE


In the matter of:

Steven Edward Roberts                                                   Chapter 13
                                                                        Case No. 17-20543
         Debtor

            OBJECTION OF STATE TAX ASSESSOR TO CONFIRMATION OF
                       THE DEBTOR’S CHAPTER 13 PLAN

         NOW COMES Jerome D. Gerard, State Tax Assessor (the “Assessor”) of the State of

Maine Bureau of Revenue Services (“MRS”), by and through his attorney, Kevin J. Crosman,

and objects to the Debtor’s chapter 13 plan (the “Plan”) [Dkt. No. 2].

                                                   Background

     1. Steven E. Roberts (the “Debtor”) filed a petition for protection under chapter 13 of the

United States Bankruptcy Code (the “Code”)2 on October 5, 2017 (the “Petition Date”).

     2. The Debtor has not filed State of Maine income tax returns for 2014 or 2015.

     3. The first meeting of the creditors concluded on December 1, 2017.

     4. On November 16, 2017, MRS filed timely a fully estimated proof of pre-petition claims

for the Debtor’s unpaid State of Maine income tax, interest, and penalties for 2012, 2014, and

2015 in the total amount of $7,254.02, of which $3,895.50 is asserted as a priority unsecured




1
         This Objection is filed untimely with the consent of the Debtor and the Trustee. Androscoggin Bank’s
position on the timeliness issue is unknown as of the filing of this objection.
2
         Unless expressly noted otherwise, all references to the “Code” or specific statutory sections shall be to the
Bankruptcy Reform Act of 1978, as amended by the Bankruptcy Abuse Prevention and Consumer Protection Act of
2005, Pub. L. No. 109-8, 119 Stat. 23, 11 U.S.C. § 101, et seq.
  Case 17-20543       Doc 19     Filed 01/12/18 Entered 01/12/18 15:41:56             Desc Main
                                   Document     Page 2 of 3


claim and $3,358.52 is asserted as a non-priority unsecured claim. See [Claims Register, Claim

No. 3]. The Plan fails to provide for MRS’s priority unsecured claim in any capacity.

                                              Objections

       MRS objects to the Plan as follows:

   1. The Debtor’s Plan may not be confirmed, and his case should be dismissal, due to his

failure to file State of Maine individual income tax returns for 2014 and 2015 before the

conclusion of the first meeting of the creditors. §§ 1307(e), 1308, 1325(a)(9).

   2. MRS’s priority unsecured claim cannot be quantified unless and until the Debtor files the

missing returns for 2014 and 2015, both of which returns were last due, including extensions,

after three years before the Petition Date. See § 507(a)(8)(A)(i). Without these returns, MRS

cannot determine whether the Plan “provide[s] for the full payment . . . of all claims entitled to

priority under section 507” as required by §§ 507(a)(8)(A)(i), 1322(a)(2), 1325(a)(1). Based on

the current factual matrix, moreover, MRS’s priority unsecured claim totals $3,895.50 and

therefore the Plan may not be feasible. §§ 507(a)(8)(A)(i), 1322(a)(2), 1325(a)(6).

   WHEREFORE, the Assessor respectfully requests that this Court deny confirmation of the

Debtor’s Chapter 13 Plan and grant such other relief as is just and fair.

Dated: January 12, 2018, in Augusta, Maine.

                                                      Respectfully submitted,

                                                      /s/Kevin J. Crosman
                                                      Kevin J. Crosman
                                                      Assistant Attorney General
                                                      Attorney for State Tax Assessor
                                                      Office of Attorney General
                                                      6 State House Station
                                                      Augusta, Maine 04333
                                                      (207) 626-8846
                                                      kevin.crosman@maine.gov



                                                 2
  Case 17-20543         Doc 19       Filed 01/12/18 Entered 01/12/18 15:41:56                 Desc Main
                                       Document     Page 3 of 3



                           UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF MAINE


In the matter of:

Steven Edward Roberts                                              Chapter 13
                                                                   Case No. 17-20543
        Debtor


                                       CERTIFICATE OF SERVICE

        I, Kevin J. Crosman Attorney for the State Tax Assessor, hereby certify that I have this day made
service electronically on all the parties listed on the Notice of Electronic filing pursuant to the Bankruptcy
Court’s ECF system of the foregoing OBJECTION OF STATE TAX ASSESSOR TO
CONFIRMATION OF THE DEBTOR’S CHAPTER 13 PLAN and of this Certificate of Service.

        Andrew M. Dudley, Esq., Chapter 13 Trustee

        J. Scott Logan Esq., Debtor’s Counsel

        Office of the U.S. Trustee

        All others listed as being served electronically.


Dated: January 12, 2018                                     /s/Kevin J. Crosman
                                                            Kevin J. Crosman
                                                            Assistant Attorney General
                                                            Attorney for State Tax Assessor
                                                            Office of Attorney General
                                                            6 State House Station
                                                            Augusta, Maine 04333
                                                            (207) 626-8846
                                                            kevin.crosman@maine.gov




                                                      3
